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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

 

CHRISTOPHER LEE SCALLIONS,
Plaintiff,

v.

No. 04~2556 MaV

LAUDERDALE COUNTY, et al.,

Defendants.

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ORDER DENYING PLAINTIFF CHRISTOPHER LEE SCALLIONS' MOTION TO
STRIKE AND GRANTING DEFENDANT DYER COUNTY'S MOTION TO DISMISS
PLAINTIFF' S STATE LAW CLAIMS BROUGHT UNDER THE TENNESSEE
GOVERNMENTAL TORT LIABILITY ACT

 

Plaintiff Christopher Lee Scallions (“Scallions)” brings this
action under 42 U.S.C. § 1983, alleging that Lauderdale County and
Dyer County sheriff’s deputies violated his constitutional rights.
(Am. Compl. at TI 42-64.) Scallions also brings state law claims of
battery, “statutory liability” under T.C.A. § 8-8-302, malicious
harassment, negligence against Lauderdale County and Dyer County
under the Tennessee Governmental Tort Liability Act (“TGTLA”),
T.C.AJ § 29-20-205, false arrest and false imprisonment, and
punitive damages. (Id. at ii 65-91.) In his original complaint,
filed on July 21, 2004, Scallions named as defendants Lauderdale
County; Lauderdale County' Sheriff Louis Craig in. his official
capacity; and Lauderdale County' sheriff’s deputies Kenneth. N.

Nelson and Kenneth Randall Richardson individually and in their

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official capacities. On February 22, 2005, Scallions filed an
amended complaint naming as defendants Dyer County; and Dyer County
sheriff’s deputies John Justiss and John Cannon individually and in
their official capacities.

On August 20, 2004, Lauderdale County filed an answer to
Scallions’ complaint and on March 17, 2005, Dyer County filed an
answer to Scallions’ amended complaint. Both counties raised the
affirmative defense that this court lacks supplemental jurisdiction
over Scallions’ TGTLA claims. (Lauderdale County Ans. at 16; Dyer
County Answer at j D.7.) On March 24, 2005, Scallions filed a
“Motion to Strike Defense of Lack of Supplemental Jurisdiction Over
State Law Governmental Tort Liability Act Claim.” Defendant Dyer
County responded on April 7, 2005, and contemporaneously asked the
court to dismiss Scallions' TGTLA claims. Defendant Lauderdale
County has not responded.1

“[I]n any civil action of which the {federal] district courts
have original jurisdiction, the district courts shall have
supplemental jurisdiction over all other claims that are so related
to claims in the action within such original jurisdiction that they
form part of the same case or controversy under Article III of the

United States Constitution.” 28 U.S.C. § 1367(a). A district court

 

1In his motion to strike, Scallions requests that the court expedite its
ruling so that Scallions may timely re-file his TGTLA claims in state court
should the court rule against him. Because the court’s decision is in Lauderdale
County's favor, the court did not wait for the county to file a response before
ruling on Scallions' motion.

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“may decline to exercise supplemental jurisdiction over a claim .
if ... in exceptional circumstances, there are other compelling
reasons for declining jurisdiction.” 28 U.S.C. § 1367(c)(4).

The Tennessee Governmental Tort Liability Act ("TGTLA"),
T.C.A. § 29-20-101 §§ §§g;, provides that “[t]he circuit courts
shall have exclusive original jurisdiction over any action brought
under this chapter. . . .” T.C.A. § 29-20-307. The Sixth Circuit
has held that federal district courts may decline to exercise
supplemental jurisdiction over TGTLA claims because “the Tennessee
legislature expressed a clear preference that TGTLA claims be
handled by its own state courts. This unequivocal preference of the
Tennessee legislature is an exceptional circumstance for declining
jurisdiction [under 28 U.S.C. § l367(c)(4)].” Gregory v. Shelby
Countyl Tenn., 220 F.3d 433, 446 (6th Cir. 2000). Thus, the court
concludes that the exclusivity provision of the TGTLA provides a
compelling reason to decline supplemental jurisdiction over the

TGTLA claims in this case.

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For the foregoing reasons, Plaintiff's motion to strike is

DENIED. Defendant Dyer County's county motion to dismiss

Plaintiff’s negligence claims brought under the Tennessee

Governmental Tort Liability Act is GRANTED.

So ordered this laid day of May 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
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Honorable Samuel Mays
US DISTRICT COURT

